Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 1 of 26



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 STEEL MEDIA GROUP, LLC,

                      Plaintiff,

 vs.                                                                  Case No. 1:22-cv-21780-JLK

 HAROLD LEWIS, an individual, and
 RICHIE BROWNE, an individual,

                  Defendants.
 ___________________________________/

                    DEFENDANTS’ MOTION TO DISMISS COMPLAINT

        Defendants, pursuant to Federal Rule of Civil Procedure 12(b)(6), hereby move for

 dismissal of the Complaint for failure to state a claim upon which relief can be granted.

 I.     RELEVANT BACKGROUND

        The Complaint consists of three counts. In Count I, Plaintiff asserts a claim for fraud in

 the inducement. In Count II, Plaintiff asserts a claim for unjust enrichment. In Count III,

 Plaintiff asserts a claim for civil theft. Plaintiff’s claims are based on an alleged oral agreement

 for the purchase and sale of tickets for the Super Bowl played in Miami on February 2, 2020.

        Based on the allegations in the Complaint, the parties made an oral agreement for the

 purchase and sale of Super Bowl tickets on December 17, 2019. On that day, Plaintiff alleges

 that Luiz Rodriguez, “the principal” of Plaintiff, “held a telephone call” with Defendants, Harold

 Lewis (“Lewis”) and Richie Browne (“Browne”). (Complaint (“Com.”) ¶ 10). During this call,

 Defendants orally promised to sell and deliver to Plaintiff, and Plaintiff orally agreed to buy, 40

 Super Bowl tickets located in the “stadium’s lower level endzone” for $4,500 per ticket. (Id. ¶¶

 9-10). Defendants also orally promised to procure and sell to Plaintiff additional Super Bowl

 tickets in the stadium’s “lower level” on the condition that Plaintiff perform its part of the

 agreement by buying the 40 Super Bowl tickets. (Id. ¶¶ 9, 11, 21, 34, 39, 49-51). Plaintiff
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 2 of 26



 alleges that Defendants made representations concerning their ability to perform the oral

 agreement by claiming that they “were able to secure” the “unique and valuable” tickets because

 of Browne’s “high position” with Anheuser-Busch and their “contacts” with the NFL. (Id. ¶ 12).

 Based on the allegations in the Complaint, the oral agreement was silent as to the date by which

 Defendants were to deliver the Super Bowl tickets to Plaintiff.

        Plaintiff asserts that it performed its part of the oral agreement by paying Defendants

 $180,000 for the 40 Super Bowl tickets, with a payment of $50,000 on December 30, 2019 and

 payments totaling $130,000 between January 9, 2020 and January 21, 2020. (Id. ¶ 15). Pursuant

 to the alleged oral agreement, Plaintiff claims that it then exercised its right to buy additional

 Super Bowl tickets by paying Defendants $66,500 for 10 additional tickets as of January 24,

 2020. (Id. ¶ 18). As of January 24, 2020, according to Plaintiff, Defendants were obligated to

 deliver 50 Super Bowl tickets to Plaintiff as “promised by Defendants.” (Id.) (emphasis added).

        Plaintiff asserts that Defendants failed to timely and fully perform their promises under

 the oral agreement. “As of January 28, 2020,” according to Plaintiff, Defendants had not

 delivered any of the 40 tickets and had only delivered “6 out of the 10 additional” tickets. (Id. ¶

 21). Plaintiff alleges that Browne delivered “8 lower level endzone tickets out of the initial 40

 requested, and 4 tickets located in another area of the stadium” on January 31, 2020. (Id. ¶ 26).

 Plaintiff claims that Browne delivered “another 6 lower level endzone seats, and 2 seats in

 another area of the stadium” on February 1, 2020. (Id. ¶ 28). Later that same day, according to

 Plaintiff, Browne delivered an “an additional 16 tickets, 12 of which were lower level endzone

 tickets and 4 were located in other areas of the stadium.” (Id. ¶ 29). “Later that same evening,”

 Lewis delivered “2 additional tickets, which were not lower level endzone tickets.” (Id.).

        As of February 1, 2020, according to Plaintiff, Defendants had only delivered 38 out of

 the 40 tickets as “promised,” and only 26 of the tickets delivered were for seats in the lower




                                                 2
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 3 of 26



 level endzone as “promised.” (Id. ¶¶ 18, 21, 26, 28-31) (emphasis added). As of February 1,

 2020, according to Plaintiff, Defendants had only delivered 6 out of the 10 additional tickets as

 “promised” and none of the tickets delivered were for seats in the location “promised” by

 Defendants. (Id. ¶¶ 11, 18, 21, 34, 49-51) (emphasis added).

        Plaintiff claims that because of Defendants’ failure to timely and fully perform their

 promises under the oral agreement, it “was forced” to cover by making a purchase of goods in

 substitution by buying “box seating” Super Bowl tickets from the Miami Dolphins for $120,000

 on January 29, 2020, by buying “Cabana Suite” Super Bowl tickets from the Miami Dolphins for

 $180,000 on January 30, 2020, by buying a Super Bowl ticket from a ticket broker for $27,000

 on February 2, 2020, and by buying 6 tickets for $70,000 on February 2, 2020. (Id. ¶¶ 22, 23,

 32, 33). Plaintiff further alleges that because of Defendants’ failure to perform their promises

 under the oral agreement, Plaintiff was “sued by a client and was forced to reimburse the

 customer $40,000 based upon the inability to fulfill such customer’s order.” (Id. ¶ 24).

 II.    ARGUMENT

        A.      MOTION TO DISMISS STANDARD

        Rule 12(b)(6) of the Federal Rules of Civil Procedure authorizes the dismissal of a

 complaint for "failure to state a claim upon which relief can be granted." FED. R. CIV. P. 12(b)(6).

 "A Rule 12(b)(6) motion tests the legal sufficiency of the complaint." Gilmore v. Day, 125

 F.Supp.2d 468, 471 (M.D. Ala. 2000).

        The decisions by the Supreme Court in Bell Atlantic Corp. v. Twombly, 127 S.Ct. 1555

 (2007), and Ashcroft v. Iqbal, 129 S.Ct. 1937 (2009), "require that complaints in civil actions be

 alleged with greater specificity than previously was required." Walters v. McMahen, 684 F.3d

 435, 439 (4th Cir. 2012). "To survive a motion to dismiss, the complaint must contain sufficient

 factual matter, accepted as true, to state a claim to relief that is plausible on its face." Iqbal, 129




                                                   3
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 4 of 26



 S.Ct. at 1949. “A claim has facial plausibility when the plaintiff pleads factual content that

 allows the court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged." Id. "Threadbare recitals of the elements of a cause of action, supported by mere

 conclusory statements, do not suffice." Id. "Nor does a complaint suffice if it tenders naked

 assertions devoid of further factual enhancement." Id.

        "When reviewing a motion under Rule 12(b)(6), a court, as a general rule, must accept

 the plaintiff's allegations as true[.]" Am. Marine Tech, Inc. v. World Group Yachting, Inc., 418

 F.Supp.3d 1075, 1079 (S.D. Fla. 2019).         "However, this tenant does not apply to legal

 conclusions, and courts are not bound to accept as true a legal conclusion couched as a factual

 allegation." Id. Moreover, "conclusory allegations and unwarranted deductions of fact are not

 admitted as true in a motion to dismiss." South Florida Water Mgmt. Dist. v. Montalvo, 84 F.3d

 402, 408 n. 10 (11th Cir. 1996). Thus, “conclusory allegations, unwarranted factual deductions

 or legal conclusions masquerading as facts will not prevent dismissal.” Salerno v. Florida

 Southern College, 488 F.Supp.3d 1211, 1217 (M.D. Fla. 2020).

        B.      THE COMPLAINT FAILS TO STATE A FRAUDULENT INDUCEMENT CLAIM

        “In order to state a cause of action for fraud in the inducement, a plaintiff must allege that

 (1) the representor made a misrepresentation of material fact, (2) the representor knew or should

 have known of the falsity of the statement, (3) the representor intended that the representation

 would induce another to rely and act on it, and (4) the plaintiff suffered injury in justifiable

 reliance on the representation.” Biscayne Inv. Grp. Ltd. V. Guarantee Mgmt. Servs., Inc., 903

 So.2d 251, 255 (Fla. 3d DCA 2005).

        1.   PLAINTIFF’S ALLEGATIONS ARE NOTHING MORE THAN A POTENTIAL BREACH
        OF CONTRACT CLAIM

        Plaintiff alleges that Defendants made representations relating to their ability to perform

 under the oral contract by claiming they “were able to secure” the “unique and valuable” Super



                                                  4
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 5 of 26



 Bowl tickets because of Browne’s “high position” with Anheuser-Busch and their “contacts”

 with the NFL. (Com. ¶¶ 10-12). Plaintiff alleges that Defendants’ representations relating to

 their ability to perform were false because “Defendants did not have an NFL contact at all, but

 rather, were purchasing tickets from [a ticket broker].” (Id. ¶ 32). Thus, according to Plaintiff,

 Defendants made misrepresentations concerning their performance of the contract by

 misrepresenting the “strength of their ‘contacts’ at the NFL,” “their ability to procure the most

 desirable lower level” tickets, and “their ability to procure high volumes of such desirable”

 tickets.” (Id. ¶¶ 34, 39). Plaintiff further asserts that Defendants misrepresented “their intent to

 in fact supply” the tickets because they never intended to supply the tickets, and, thus, did not

 intend to perform the contract. (Id. ¶¶ 34, 39, 49).

        Although Plaintiff attempts to characterize its claim as sounding in fraud, the factual

 allegations in the Complaint reveal nothing more than a purported breach of an oral contract.

 Indeed, Plaintiff’s true complaint is that Defendants failed to timely and fully perform what they

 promised to do and, thus, breached the alleged oral contract. Thus, Plaintiff is claiming that it

 was damaged not because of Defendants’ alleged misrepresentations, but because Defendants

 breached the alleged oral contract. Consequently, Plaintiff’s fraud claim is indistinguishable

 from a potential breach of contract claim.

        2.      PLAINTIFF’S FRAUD CLAIM IS BARRED BY THE STATUTE OF FRAUDS

        Although Plaintiff has couched Count I as a claim for fraud in the inducement rather than

 a claim for breach of contract, Plaintiff’s fraud claim is still barred because it attempts to

 circumvent the bar to a breach of contract claim by Florida’s statute of frauds. Indeed, Plaintiff,

 under the guise of a fraud claim, is seeking to enforce an oral agreement that is unenforceable

 under Florida’s statute of frauds. Defendants anticipate that Plaintiff will argue that the statute of

 frauds is inapplicable because none of the counts in the Complaint are for breach of contract.




                                                   5
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 6 of 26



 This is incorrect. A claim’s label does not determine whether the statute of frauds applies; its

 substance does. See Cohen v. Corbitt, 135 So.3d 527, 530 (Fla. 1st DCA 2014) (“Appellee

 cannot avoid the statute of frauds simply by couching her claim in terms of the tort of fraudulent

 misrepresentation rather than breach of an oral contract.”).

         In Florida, a contract for the sale of goods worth $500 or more is not enforceable unless

 it has been memorialized in writing and signed by the party against whom enforcement is sought.

 See FLA. STAT. § 672.201(1). “While the statute [ § 672.201(1) ] by its terms bars recovery in

 contract, Florida has long recognized that the statutory bar extends to cases where the plaintiff

 has chosen to plead an essentially contract-based claim as a fraud claim.” Boldstar Tech., LLC v.

 Home Depot, Inc., 517 F.Supp.2d 1286, 1289 (S.D. Fla. 2007).

        In the Complaint, Plaintiff claims that the subject matter of the agreement was Super

 Bowl tickets worth more than $500. Super Bowl tickets constitute “goods” for purpose of

 Florida’s statute of frauds. See FLA. STAT. § 672.105(1) (“ ‘Goods’ means all things (including

 specially manufactured goods) which are moveable at the time of identification to the contract

 for sale other than the money in which the price is to be paid[.]”). Because Plaintiff claims that

 the agreement involved the sale of goods worth more than $500, the agreement was within

 Florida’s statute of frauds. Indeed, Plaintiff’s fraud claim requires proving that Defendants

 promised to sell and deliver Super Bowl tickets (goods) worth more than $500, which brings the

 claim within the statute of frauds. See FLA. STAT. § 672.201(1).

        Although Plaintiff attempts to characterize his claim as sounding in fraud, its factual

 allegations reveal nothing more than a purported breach of an oral contact. “It well settled that a

 party cannot avoid the writing requirement of the statute of frauds by reformulating what

 amounts to a breach of an oral contract claim into a fraud claim.” 940 Lincoln Road Associates,

 LLC v. 940 Lincoln Road Enterprises, Inc., 237 So.3d 1099, 1102 (Fla. 3d DCA 2017).




                                                  6
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 7 of 26



 Moreover, even assuming Defendants did not intend to perform their promises under the oral

 contract as asserted by Plaintiff, (Com. ¶ 34, 39, 49), Plaintiff’s fraud claim is still barred by the

 statute of frauds. See LynkUS Commc’ns, Inc. v. WebMD Corp, 965 So.2d 1161, 1166 (Fla. 2d

 DCA 2007) (“[U]nder the statute of frauds, an action for damages cannot be maintained on the

 ground of fraud in refusing to perform the [oral] contract, even though the defendant at the time

 of the making of the oral contract may have had no intention of performing it.”).

         The Complaint alleges no facts establishing that Defendants’ oral promises were reduced

 to writing and signed by them, let alone facts establishing the existence of a written contract

 signed by Defendants. Thus, the alleged oral contract is unenforceable and barred as a matter of

 law by Florida’s statute of frauds. Therefore, Count I of the Complaint must be dismissed.

         If Plaintiff ultimately asserts that an exception to the statue of frauds exists, then Plaintiff

 is contending there is an enforceable contract. Under such circumstances, Plaintiff must still

 satisfy the independent tort doctrine to state a fraudulent inducement claim.

         3.      PLAINTIFF’S CLAIM IS BARRED BY THE INDEPENDENT TORT DOCTRINE

         “[T]o set forth a claim in tort between parties in contractual privity, a party must allege

 action beyond and independent of breach of contract that amounts to an independent tort.”

 Reagan Wireless Corp. v. Apto Solutions, Inc., 2018 WL 4901127, at *3 (S.D. Fla. Oct. 9, 2018).

 Plaintiff’s allegations establish that the parties made an oral contract for the purchase and sale of

 Super Bowl tickets and, thus, are in contractual privity. Moreover, if Plaintiff asserts that an

 exception to the statute of frauds applies and thus there is an enforceable contract, then Plaintiff

 is admitting the parties are in contractual privity.

         The independent tort doctrine is well-established in Florida and provides that when “a

 contract has been breached, a tort action lies only for acts independent of those acts establishing

 the contract’s breach.” Peebles v. Puig, 223 So.3d 1065, 1069 (Fla. 3d DCA 2017); see also




                                                    7
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 8 of 26



 Island Travel & Tours Co., MYR Ind. Ind., 300 So.3d 1236, 1239 (Fla. 3d DCA 2020) (“It is a

 fundamental long-standing common law principle that a plaintiff may not recover in tort for a

 contract dispute unless the tort is independent of any breach of contract.”). Under Florida law,

 therefore, “it is well settled that a plaintiff a may not recast causes of action that are otherwise

 breach of contract claims as tort claims.” Cemex Const. Materials, Fla., LLC v. Armstrong World

 Ind., Inc., 2018 WL 905752, at *10 (M.D. Fla. Feb. 15, 2018).

        Even if not barred by the statute of frauds, Plaintiff’s fraudulent inducement claim is still

 barred as a matter of law by the independent tort doctrine for two reasons: (1) the alleged fraud

 is not separate from the performance of the contract; and (2) Plaintiff pleads no facts establishing

 damages independent, separate, and distinct from the contract’s alleged breach.

        a.      ALLEGED FRAUD NOT SEPARATE FROM PERFORMANCE OF THE CONTRACT

        (“[F]raudulent inducement can qualify as an independent tort[.]” Certified Collectibles

 Grp., LLC v. Globant, LLC, 2021 WL 1214963, at *4 (M.D. Fla. Mar. 31, 2021). However, a

 plaintiff cannot transform a potential breach of contract claim into an independent tort merely by

 labeling a claim as fraud or fraud in the inducement. See Kaye v. Igenio, Filiale De Loto-

 Quebec, Inc., 2014 WL 2215770, at *4 (S.D. Fla. May 29, 2014) (rejecting fraud claim because

 “[a]lthough [plaintiff] attempts to characterize his claim as sounding in fraud, the factual

 allegations reveal nothing more than a purported breach of contract”).

        Under Florida law, when the alleged fraud concerns a party’s performance under the

 contract, an independent tort will not lie. See Hotels of Key Largo, Inc. v. RHI Hotels, Inc., 694

 So.2d 74, 78 (Fla. 3d DCA 1997) (“Misrepresentations relating to the breaching party’s

 performance of a contract do not give rise to an independent cause of action in tort, because such

 misrepresentations are interwoven and indistinct from the heart of the contractual agreement.”).

 “Put differently, where the alleged fraudulent misrepresentation is inextricably intertwined with




                                                  8
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 9 of 26



 the performance of a contract, there is no cognizable claim sounding in fraud.” Cemex, 2018 WL

 905752, at *11. Thus, “[i]n assessing whether fraud in the inducement is distinct from a claim

 arising under a contract, the critical inquiry focuses on whether the alleged fraud is separate from

 the performance of the contract.” Kaye, 2014 WL 2215770, at *5; see also Spears v. SHK Con.

 & Dev., Inc., 338 F.Supp.3d 1272, 1279 (M.D. Fla. 2018) (“The critical inquiry focuses on

 whether the alleged fraud is separate and apart from the performance of the contract.”).

        Plaintiff’s fraud claim is precisely the type of performance-based claim that cannot stand

 independent of a potential breach of contract claim. Plaintiff asserts that Defendants made the

 following misrepresentations to induce Plaintiff to enter into the agreement and buy the Super

 Bowl tickets: that they “were able to secure” the “unique and valuable” Super Bowl tickets

 because of Browne’s “high position” with Anheuser-Busch and their “contacts” with the NFL.

 (Com. ¶¶ 10-12). In other words, Plaintiff asserts that Defendants misrepresented the “strength

 of their ‘contacts’ at the NFL, “their ability to procure the most desirable lower level Super Bowl

 tickets,” and “their ability to procure high volumes of such desirable” tickets to induce Plaintiff

 to enter into the agreement and buy the Super Bowl tickets. (Id. ¶¶ 34, 39, 41).

        As Plaintiff’s allegations establish, Plaintiff is claiming that Defendants misrepresented

 their ability to perform under the contract. Indeed, the only alleged misrepresentations simply

 had to do with Defendants’ ability to perform under the contract and, thus, solely relate to

 Defendants’ performance of the contract. Because Defendants’ alleged misrepresentations solely

 relate to their performance of the contract, the misrepresentations are interwoven and indistinct

 from the heart of the parties’ agreement. See Hotels of Key Largo, 694 So.2d at 78.

        Because Plaintiff’s fraud allegations solely concern misrepresentations relating to

 Defendants’ performance of the contract and thus concern the heart of the parties’ agreement,

 Plaintiffs fraudulent inducement claim is barred by the independent tort doctrine.              See




                                                  9
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 10 of 26



  Inspirations Nevada, LLC v. Med Pro Billing, Inc., 2021 WL 2156677, at *6 (S.D. Fla. May 26,

  2021) (“Where the only alleged misrepresentation concerns the heart of the parties’ agreement,

  simply applying the label ‘fraudulent inducement’ to a cause of action will not suffice to subvert

  the sound policy underlying the independent tort doctrine.”); Perez v. Scottsdale Ins. Co., 2019

  WL 5457746, at *3 (S.D. Fla. Oct. 24, 2019) (dismissing fraudulent inducement claim because

  “the misrepresentations alleged here are in the performance of the contract and cannot be

  considered independent so as to constitute an exception to [independent tort doctrine]”);

  Monsoon, Inc. v. Bizjet Int’l Sales & Support, Inc., 2017 WL 747555, at *10 (S.D. Fla. 2017)

  (dismissing “pre- and post-contract misrepresentation [claims that] relate exclusively to the

  [d]efendant’s performance of the contract” and thus “concern the heart of the parties’

  agreement”; reasoning that the alleged misrepresentations “cannot therefore be said to give rise

  to an independent cause of action in tort”).

         Although Plaintiff alleges that Defendants made misrepresentations to induce Plaintiff

  enter the agreement and buy the Super Bowl tickets by claiming they “were able to secure” the

  Super Bowl tickets because of Browne’s “high position” with “Anheuser-Busch and their

  “contacts” with the NFL—when in fact they “did not have an NFL contact at all” and were

  purchasing tickets from a ticket broker—Plaintiff’s true complaint is that Defendants failed to

  timely and fully perform what they “promised” to do and, thus, breached the contract. (Com. ¶¶

  10-12, 18, 21, 31, 32) (emphasis added). Indeed, Plaintiff sets forth expansive, highly detailed

  factual allegations exhaustively describing the damages it suffered because of Defendants’

  failure to perform their contractual obligations, including being “forced” to cover by buying

  substitute Super Bowl tickets for $397,000 and reimbursing a client $40,000 due to Plaintiff’s

  inability to fulfill the customer’s order for Super Bowl tickets. (Id. ¶¶ 22, 23, 24, 32, 33).

         Plaintiff’s complaint that Defendants failed to timely and fully perform what they




                                                   10
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 11 of 26



  “promised” to do, (Id. ¶ 18, 21, 26, 28-31) (emphasis added), and, thus, breached the contract

  does not give rise to an independent claim of fraud. See Dorvil v. Nationstar Mortgage, LLC,

  2019 WL 1992932, at *16-17 (S.D. Fla. March 26, 2019) (granting summary judgment on fraud

  claims because plaintiff “merely complain[s]” about defendant’s “alleged failures to perform its

  obligations” under the contracts; reasoning that plaintiff “may not repackage these breach of

  contract claims as independent actions in tort”); Reagan Wireless, 2018 WL 4901127, at *3

  (dismissing fraudulent inducement claim because plaintiff’s “true complaint appears” to concern

  defendant’s failure to timely perform its contractual obligations and explaining that “such a

  claim does not give rise to a claim for an independent claim of fraud”).

         To the extent that Plaintiff contends that Lewis’ alleged representation on January 28,

  2020 that Defendants were “exchanging text message regarding the procurement of the tickets

  through their ‘contacts’ at the NFL” and Browne’s alleged representation on February 1, 2020

  that he had 100 tickets that he would make available to Plaintiff, (Com. ¶¶ 20, 27), constitute

  misrepresentations forming the basis of its fraudulent inducement claim, such a contention is

  frivolous because the alleged representations were simply that Defendants would perform under

  the contract. See Inspirations Nevada, 2021 WL 2156677, at *6 (finding that plaintiff’s fraud

  claims barred by the independent tort doctrine because “the representations made were simply

  that [defendant] would perform under the [contract]”).

         To the extent that Plaintiff contends that Defendants’ alleged representation that the

  Super Bowl tickets they promised to sell were “unique and valuable,” (Com. ¶ 12), constitute

  misrepresentations forming the basis of its fraudulent inducement claim, such a contention is

  frivolous because such a description of the tickets is non-actionable puffery. See MDVIP, Inc. v.

  Beber, 222 So.3d 555, 561 (Fla. 4tth DCA 2017) (“A promise to deliver an ‘exceptional’ product

  or service is a matter of opinion rather than fact and constitutes non-actionable puffery.”).




                                                   11
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 12 of 26



          Defendant’s conclusory assertion that Defendants misrepresented “their intent to in fact

  supply” the tickets because Defendants never intended to supply them and thus did not intend to

  perform the contract, (Com. ¶¶ 12, 34, 39, 49), provides no support for Plaintiff’s fraud claim.

  First, to succeed on a claim for fraud under Florida law, a plaintiff must show that the “promisor

  had a specific intent not to fulfill his promise at the time the promise was made[,]”

  Alexander/Davis Properties, Inc. v. Graham, 397 So.2d 699, 706 (Fla. 4th DCA 1981). As

  discussed more fully below, Plaintiff alleges no facts establishing that Defendants had no

  intention of performing their promises when made.                            Second, Defendants’ alleged

  misrepresentation amounts to nothing more than a misrepresentation regarding their intent to

  comply with the contact and, thus, does not give rise to an independent fraud claim. See Topp,

  Inc. v. Uniden Am. Corp., 513 F.Supp.2d 1345, 1349 (S.D. Fla. 2007) (“Ultimately, a claim that

  a defendant fraudulently induced a party to enter a contract by misrepresenting his intention to

  abide by the terms of the contract is barred by the economic loss rule.”).1

          Because the alleged misrepresentations are inextricably intertwined with Defendants’

  performance of the contract, the alleged misrepresentations are inseparable from the essence of

  the parties’ agreement and Plaintiff is limited to pursuing its rights in contract. See Inspirations

  Nevada, 2021 WL 2156677, at *6 (“[W]here the alleged fraudulent misrepresentation is

  inseparable from the essence of the parties’ agreement, the independent tort doctrine applies and

  the parties are limited to pursuing their rights in contract.”). Indeed, because Plaintiff’s fraud

  allegations solely concern misrepresentations relating to Defendants’ performance of the

  contract, Plaintiff is prohibited from pursuing a “better bargain” by turning a potential breach of


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   Topp speaks in terms of the “economic loss rule” because it predates the Florida Supreme Court’s decision in Tiara
  Condo Ass’n, Inc. v. Marsh & McLennan Cos., Inc., 110 So.3d 399 (Fla. 2013), which restricted that rule to the
  context of products liability. However, as state and federal courts in Florida have explained, the independent tort
  doctrine—and the rationale underlying Topp—survives Tiara Condominium as a long-standing fundamental tenet of
  contract common law. See XP Global, Inc. v. AVM, LP, 2016 WL 6679427, at *4 (S.D. Fla. Nov. 14, 2016); Kaye,
  2014 WL 2215770, at *3-5; Island Travel, 300 So.3d at 1239; Peebles, 233 So.3d at 1069.




                                                         12
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 13 of 26



  contract claim into a fraud claim.       See Certified Collectibles, 2021 WL 1214963, at *4

  (dismissing plaintiff’s fraud claim where the alleged fraud was not separate from performance of

  the contract and explaining that plaintiff was prohibited from “pursuing a ‘better bargain’ by

  turning a breach of contract claim into a fraud claim”).

          To the extent that Defendants failed to comply with what they promised to do under the

  alleged oral agreement, “such noncompliance must be addressed through a breach of contract

  claim, not a fraud in the inducement claim.” ADJ 26, LLC v. Gigi, 2022 WL 255375, at *15-16

  (S.D. Fla. Jan. 11, 2022) (collecting cases).

          b.      NO INDEPENDENT, SEPARATE & DISTINCT DAMAGES

          “It is [ ] well-settled that, for an alleged misrepresentation regarding a contract to be

  actionable, the damages stemming from that misrepresentation must be independent, separate

  and distinct from the damages sustained from the contract’s breach.” Peebles 223 So.3d at 1068.

  Indeed, the independent tort doctrine “rooted in the notion that, when a contract is breached, the

  parameters of a plaintiff’s claim are defined by contract law, rather than by tort law.” Id.

          Plaintiff pleads no facts establishing damages independent, separate, and distinct from

  the contract’s alleged breach. There are no facts in the Complaint demonstrating that Plaintiff

  suffered any distinct damages separate and apart from the damages it allegedly suffered because

  of Defendants’ failure to perform their contractual obligations.          Indeed, all the damages

  identified in the Complaint flow from Defendants’ purported contract breach and are damages

  for which remedies are available under contract law. See Ginsberg v. Lennar Fla. Holdings,

  Inc., 645 So.2d 490, 494 (Fla. 3d DCA 1994) (“Where damages sought in tort are the same as

  those for breach of contract a plaintiff may not circumvent the contractual relationship by

  bringing an action in tort.”).

          Plaintiff’s claims that because Defendants failed to timely and fully perform what they




                                                   13
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 14 of 26



  “promised” to do under the contract, Plaintiff “was forced” to cover by making a purchase of

  goods in substitution by buying Super Bowl tickets from the Miami Dolphins and a ticket broker.

  (Com. ¶¶ 18, 21-23, 31-33) (emphasis added). Such damages flow from the contract breach and

  are damages for which remedies are available under contract law.               See FLA. STAT. §

  672.711(1)(a) (“Where the seller fails to make delivery . . . the buyer may . . . ‘[c]over’ and have

  damages under the next section as to all the goods affected[.]”); FLA. STAT. § 672.712(1) (“After

  a beach within the preceding section the buyer may ‘cover’ by making in good faith and without

  unreasonable delay any reasonable purchase of or contract to purchase goods in substitution from

  those due from the seller.”).

         Plaintiff’s claims that because Defendants failed to timely and fully perform what they

  “promised” to do under the contract, Plaintiff was “forced to” reimburse a client $40,000 due to

  its inability to fulfill the customer’s order for Super Bowl tickets. (Com. ¶ 18, 21, 24, 31). Such

  damages flow from the contract breach and are damages for which remedies are available under

  contract law. See Capital Env. Svcs., Inc. v. Earth Tech, Inc., 25 So.3d 593, 595 (Fla. 1st DCA

  2009) (“It is well settled that the injured party in a breach of contract is entitled to recover

  monetary damages that will put him in the same position it would have been had the other party

  not breached the contract.”).

         Plaintiff alleges that Defendants had only delivered 38 out of the 40 tickets as

  “promised,” and only 26 of the tickets delivered were for seats in the lower level endzone as

  “promised.” (Com. ¶¶ 18, 26, 28-31) (emphasis added). Plaintiff further alleges that Defendants

  only delivered 6 out of the 10 additional tickets as “promised” and that none of the tickets

  delivered were for seats in the location “promised” by Defendants. (Id. ¶¶ 11, 18, 21, 34, 49-51)

  (emphasis added). Damages based on Defendants’ failure to deliver tickets as promised and

  failure to deliver tickets for seats in the location as promised (which Defendant deems




                                                  14
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 15 of 26



  undelivered) flow from the contract breach and are damages for which remedies are available

  under contract law. See FLA. STAT. § 672.713(1) (“[T]he measure of damages for nondelivery. . .

  by the seller is the difference between the market price at the time the buyer learned of the

  breach and the contract price together with any incidental and consequential damages[.]”).

            Plaintiff’s claims that Defendants’ failure to timely and fully perform what they

  “promised” to do under the contract “cause[d] substantial losses in future business

  opportunities” as Plaintiff “was forced to inform multiple clients that [it] would be unable to

  fulfill their orders.” (Com. ¶ 18, 21, 31, 35) (emphasis added). Such damages flow from the

  contract breach and are damages for which remedies are available under contract law. See River

  Bridge Corp. v. Am. Somax Ven. ex rel. Am. Home Dev. Corp., 18 So.3d 648, 650 (Fla. 4th DCA

  2009) (“When a party seeks lost future profits upon a breach of contract or other wrong, the party

  must prove that the lost profits were a direct result of the defendant’s actions and that the amount

  of lost profits can be established with reasonable certainty.”).

            Plaintiff’s claims that Defendants’ failure to timely and fully perform what they

  “promised” to do under the contract damaged Plaintiff’s “reputation” because it had to tell

  “multiple clients” that it was unable to “fulfill their orders.” (Com. ¶ 18, 21, 31, 35) (emphasis

  added).     Such damages flow from the contract breach and are special damages for which

  remedies are available under contract law. See Land Title of Central Fla., LLC v. Jimenez, 946

  So.2d 90, 93 (Fla. 5th DCA 2006) (“Special damages are those that do not necessarily result

  from the wrong or breach of contract complained of, or which the law does not imply as a result

  of that injury, even though they might naturally and proximately result from the injury.”).

            To the extent that a remedy for damage to Plaintiff’s “reputation” is unavailable under

  contract law, then contract principles are still more appropriate for determining remedies for

  consequential damages because the parties are in contractual privity. See Indem. Ins. Co. of N.




                                                   15
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 16 of 26



  Am. v. Am. Aviation, Inc., 891 So.2d 532, 536-37 (Fla. 2004) (“When the parties are in privity,

  contract principles are generally more appropriate for determining remedies for consequential

  damages that the parties have, or could have, addressed through their contractual agreement.”).

  Indeed, to allow a party to turn a breach of contract claim into a fraud claim simply by alleging

  damage to reputation because of a failure to perform contractual obligations turns the

  independent tort doctrine on its head. See Peebles, 223 So.3d at 1069.

         Plaintiff’s allegations establish that the damages stemming from Defendants’ alleged

  misrepresentations are not independent, separate, and distinct from the damages sustained from

  the contract’s alleged breach. At the end of the day, Plaintiff was damaged not because of

  Defendants’ alleged misrepresentations, but because Defendants allegedly failed to honor their

  contractual obligations. See id. (finding that directed verdict should have been entered for

  defendant on plaintiff’s fraud claim because “[a]t the end of the day, [plaintiff] was not damaged

  because of [defendant’s] misrepresentations, but because [defendant] failed to honor its

  contractual obligations”).   Because Plaintiff’s alleged damages resulted from, and were

  occasioned by, Defendants’ purported breach of contract, and are not independent, separate, and

  distinct from the damages sustained from the contract’s alleged breach, Plaintiff’s fraud in the

  inducement claim is barred as a matter of law by the independent tort doctrine.

         4.      PLAINTIFF FAILS TO STATE A FRAUDULENT INDUCEMENT CLAIM

         A party alleging fraud “must state with particularity the circumstances constituting the

  fraud[.]” Fed. R. Civ. P. 9(b). To satisfy Rule 9(b)’s heightened pleading requirements, a

  complaint must set forth, in relevant part, “the time and place of each statement.” Mizzaro v.

  Home Depot, Inc., 544 F.3d 1230, 1237 (11th Cir. 2008). In violation of Rule 9(b), Plaintiff

  does not plead when or where the alleged misrepresentations were made.            The context of

  Plaintiff’s allegations, however, reflect Defendants made the alleged misrepresentations on




                                                 16
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 17 of 26



  December 17, 2019, the date the parties made the alleged oral contract. Regardless of the failure

  to comply with Rule 9(b), the Complaint still does not allege facts establishing a fraud claim.

         “As a general rule, fraud cannot be predicated upon a mere promise not performed.”

  Alexander/Davis, 397 So.2d at 706. “However, under certain circumstances, a promise may be

  actionable as fraud where it can be shown that the promisor had a specific intent not to perform

  the promise at the time the promise was made, and the other elements of fraud are established.”

  Id. See also Mejia v. Jurich, 781 So.2d 1175, 1177 (Fla. 3d DCA 2001) (explaining that a

  promise of future conduct cannot give rise to a fraudulent inducement claim unless “the plaintiff

  can demonstrate that the person promising future action does so with no intention of performing

  or with a positive intention not to perform”). “[A] subsequent failure to perform a promise is not

  evidence that a party had no intent to perform the promise when made.” Quantum Capital, LLC

  v. Banco de los Trabajadores, 2015 WL 12259226, at *10 (S.D. Fla. Dec. 22, 2015).

         Plaintiff’s fraud claim is predicated on Defendants’ promises of future performance they

  allegedly failed to perform. Plaintiff alleges that on December 17, 2019 Defendants promised to

  sell and deliver to Plaintiff 40 Super Bowl tickets located in the lower level endzone. (Com. ¶

  10). Plaintiff also alleges that on December 17, 2019 Defendants promised to procure and sell to

  Plaintiff additional Super Bowl tickets located in the lower level on the condition that Plaintiff

  perform its part of the agreement by buying the 40 Super Bowl tickets. (Id. ¶ 11, 21, 34, 39, 49-

  51). Plaintiff further alleges that once it exercised its right to buy additional tickets by paying

  Defendants for 10 additional tickets as of January 24, 2020, Defendants were obligated to deliver

  50 tickets to Plaintiff as “promised by Defendants.” (Id. ¶ 18) (emphasis added). In asserting

  that Defendants misrepresented “their intent to in fact supply” the tickets, Plaintiff claims that

  Defendants did not intend to perform their promises. (Id. ¶¶ 34, 39, 49).

         Plaintiff alleges no facts establishing that Defendants had no intention of performing their




                                                  17
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 18 of 26



  promises when made.        See ADJ 26, 2022 WL 255375, at *15-16 (dismissing fraudulent

  inducement claim where “the allegations concern promises regarding future actions that

  [defendants] allegedly did not honor” and plaintiff “failed to show that [defendants] made any

  such promises with no intention of honoring the promises when made”). Although Plaintiff

  asserts that Defendants misrepresented “their intent to in fact supply” the tickets, (Com. ¶¶ 12,

  34, 39), Plaintiff alleges no facts in support of its conclusory assertion. See Iqbal, 129 S.Ct. at

  1949 (complaint cannot rest on “naked assertions devoid of further factual enhancement”).

         At most, Plaintiff merely alleges that Defendants subsequently failed to fully perform

  their promises, which cannot form the predicate for an actionable fraudulent inducement claim.

  See Alexander/Davis, 397 So.2d at 706. Indeed, Plaintiff’s only allegations of fact pertain to

  Defendants’ failure to timely and fully perform what they promised to do, which provide no

  support Plaintiff’s conclusory assertion that Defendants somehow “misrepresented their intent to

  in fact supply” the tickets. See Quantum Capital, 2015 WL 12259226, at *10. Thus, Plaintiff

  alleges no facts, other than a subsequent failure to perform the promises, establishing that

  Defendants did not intend to perform their promises when made. See Prieto v. Smook, Inc., 97

  So.3d 916, 918 (Fla. 4th DCA 2012) (where plaintiff’s only evidence of a positive intention not

  to perform is defendant’s lack of performance that evidence is insufficient to form the predicate

  for actionable fraud).

         Moreover, Plaintiff’s allegations fatally undermine its conclusory assertion that

  Defendants had no intention of performing their promises when made. Plaintiff alleges that

  Defendants delivered 44 out of the 50 Super Bowl tickets they “promised” to deliver. (Com. ¶¶

  18, 21, 26, 28-31). Plaintiff further alleges that Defendants were “purchasing tickets” from a

  ticket broker in order to perform their contractual obligations. (Id. ¶ 32). Thus, Plaintiff not only

  admits that Defendants substantially performed their contractual obligations, but Plaintiff also




                                                   18
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 19 of 26



  admits that Defendants intended to honor their contractual obligations.

         Because the Complaint is completely devoid of facts establishing that Defendants had no

  intention of performing their promises when made, Count I does not contain sufficient factual

  matter to state a claim for fraudulent inducement that is plausible on its face. See Iqbal, 129

  S.Ct. at 1949. Thus, Count I must be dismissed for failure to state a claim.

         C.      THE COMPLAINT FAILS TO STATE A CIVIL THEFT CLAIM

         To succeed on a claim for civil theft under Florida law, Plaintiff must demonstrate that

  Defendants “(1) knowingly (2) obtained or used, or endeavored to obtain or use, [Plaintiff’s]

  property with (3) ‘felonious intent’ (4) either temporarily or permanently to (a) to deprive

  [Plaintiff’] of [its] right to or a benefit from the property or (b) appropriate the property to

  [Defendants’] own use or to the use of any person not entitled to the property.” United Tech.

  Corp. v. Mazer, 556 F.3d 1260, 1270 (11th Cir. 2009) (citing FLA. STAT. §§ 772.11 & 812.014)).

         Plaintiff alleges that Defendants stole $129,500 of the money that Plaintiff paid

  Defendants for Super Bowl tickets. (Com. ¶ 49-51). The allegations in the Complaint reflect

  how Plaintiff calculated $129,500 in “damages” because of Defendants’ alleged theft. (Id.).

         Plaintiff alleges that Defendants delivered 44 out of the 50 tickets “promised” by

  Defendants. (Id. ¶ 18, 21, 26, 28-31) (emphasis added). However, Plaintiff claims that many of

  the tickets delivered were not for seats in the location promised by Defendants. Plaintiff deems

  tickets delivered for seats not in the location promised by Defendants as undelivered. Plaintiff

  alleges that Defendants delivered 22 tickets for seats not in the location promised by Defendants.

  Plaintiff deems those tickets as undelivered for purposes of Plaintiff’s “damages.” (Id. ¶ 51).

         Plaintiff claims that it paid Defendants $180,000 for 40 Super Bowl tickets. (Id. ¶ 15).

  Out of these 40 tickets, according to Plaintiff, Defendants only delivered 38 tickets and only

  delivered 26 for seats in the location “promised” by Defendants. (Id. ¶¶ 18, 21, 26, 28-31)




                                                  19
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 20 of 26



  (emphasis added). With respect to the 40 Super Bowl tickets, Plaintiff claims damages of $9,000

  because of Defendants’ failure to deliver 2 tickets as “promised” and damages of $54,000

  because of Defendants’ failure to deliver 12 tickets for seats in the location as “promised.” (Id.

  ¶¶ 18, 21, 26, 28-31, 49-51) (emphasis added).

         Plaintiff claims that it paid Defendants $66,500 for 10 additional Super Bowl tickets. (Id.

  ¶ 18). Out of these 10 additional tickets, according to Plaintiff, Defendant only delivered 6

  tickets and none of the tickets delivered were for seats in the location “promised” by

  Defendants. (Id. ¶¶ 11, 18, 21, 34, 49-51) (emphasis added). With respect to the 10 additional

  Super Bowl tickets, Plaintiff claims damages of $66,500 because of Defendant’s failure to

  deliver 10 tickets for seats in the location as “promised.” (Id.) (emphasis added).

         Plaintiff’s civil theft claim must be dismissed for two reasons. First, the Complaint

  contains no facts establishing Defendants possessed felonious intent to steal Plaintiff’s $129,500.

  Second, the alleged theft does not go beyond, and is not independent from, Defendants’ alleged

  failure to perform their contractual obligations.

         1.      FELONIOUS INTENT

         To establish the element of “felonious intent,” Plaintiff must allege facts demonstrating

  that Defendants possessed felonious intent to steal the money that Plaintiff allegedly paid for the

  Super Bowl tickets. See Anthony Distribs., Inc. v. Miller Brewing Co., 941 F.Supp. 1567, 1575

  (M.D. Fla. 1996) (“felonious intent to steal on the part of the defendant is a necessary element of

  proof”). In other words, Plaintiff must allege facts establishing that Defendants stole Plaintiff’s

  $129,500 (the act) and had the intent to steal Plaintiff’s $129,500 (the mens rea). See id. at 1575-

  76 (dismissing civil theft claim because plaintiffs produced insufficient evidence of “stealing (the

  act)” and “felonious intent to steal (the mens rea)”).

         Plaintiff alleges no facts demonstrating that Defendants possessed felonious intent to




                                                      20
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 21 of 26



  steal Plaintiff’s money. Instead of alleging facts in support of a necessary element of its civil

  theft claim, Plaintiff simply recites the elements of the claim by asserting that “Defendants

  obtained and/or used $129,500 of Plaintiff’s money without ever intending to supply the highly

  valuable Super Bowl tickets,” and that Defendants “unlawfully and knowingly used or endeavor

  to use Plaintiff’s money and intention deprived or endeavor to deprive Plaintiff of its money with

  the intent to temporarily or permanently deprive Plaintiff of its right to the money[.]” (Com. ¶¶

  49-50).     Because the Complaint does not contain any facts in support of its conclusory

  assertions, the Complaint does nothing more than set forth a formulaic recitation of the elements

  of a civil theft claim. See Iqbal, 129 S.Ct. at 1949 (“Threadbare recitals of the elements of a

  cause of action, supported by mere conclusory statements, do not suffice”).

            The Complaint also contains no facts establishing that Defendants knew they were

  stealing $129,500 from Plaintiff when Plaintiff tendered payment for the Super Bowl tickets and,

  thus, Defendants possessed felonious intent to steal Plaintiff’s $129,500. See Healey v. Suntrust

  Serv. Corp., 569 So.2d 458, 460 (Fla. 5th DCA 1990) (“Theft is a specific intent crime, requiring

  actual knowledge on the part of the defendant.”). Once Plaintiff tendered payment to Defendants

  for the Super Bowl tickets, Defendants were lawfully in possession of the money pursuant to the

  alleged oral agreement. As Defendants were lawfully in possession of the money, which was

  obtained with Plaintiff’s consent and knowledge, Defendants could not form the necessary intent

  to steal that money. Indeed, because Defendants were in lawful possession of the money there

  was no theft of any money as a matter of law. See Hinkle v. State, 355 So.2d 465, 467 (Fla. 3d

  DCA 1978) (“one cannot steal his own goods”).

            Although Plaintiff asserts that Defendants took Plaintiff’s money “without ever intending

  to supply Plaintiff with the highly valuable Super Bowl tickets,” Plaintiff alleges no facts in

  support of its conclusory assertion. See Walker v. Figarola, 59 So.3d 188, 190-91 (Fla. 3d DCA




                                                   21
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 22 of 26



  2011) (upholding dismissal of civil theft claim where plaintiff “simply alleg[ed]” that defendant

  “never intended to keep his promise” to perform the contract). Indeed, the Complaint contains

  no facts establishing that Defendants had, prior to allegedly stealing Plaintiff’s $129,500, an

  intent to steal it. See Rosen v. Marlin, 486 So.2d 623, 625 (Fla. 3d DCA 1986) (“a necessary

  element for establishing the crime of theft is that the defendant had, prior to the commission of

  the act, an intent to commit a theft”).

         Plaintiff’s allegations also fatally undermine its conclusory assertion that Defendants took

  Plaintiff’s money “without ever intending to supply Plaintiff” with the Super Bowl tickets.

  (Com. ¶ 49). Plaintiff alleges that Defendants delivered 44 out of the 50 Super Bowl tickets they

  “promised” to deliver. (Id. ¶¶ 18, 21, 26, 28-31). Plaintiff further alleges that Defendants were

  “purchasing tickets” from a ticket broker in order to perform their contractual obligations. (Id. ¶

  32). Thus, Plaintiff not only admits that Defendants substantially performed their contractual

  obligations, but Plaintiff also admits that Defendants intended and attempted to honor their

  contractual obligations. Because Plaintiff’s allegations establish that it was Defendants’ intent to

  comply with their contractual obligations, Plaintiff has admitted that Defendants never had the

  “intent to steal” Plaintiff’s $129,500 before they allegedly stole it.

         Plaintiff is required to allege facts establishing that Defendants possessed felonious intent

  to steal Plaintiff’s $129,500. See Robertson v. Sea Pines Real Estate Co., 679 F.3d 278, 291 (4th

  Cir. 2012) (complaint must “allege facts sufficient to state elements of the claim”). Because the

  Complaint contains no such facts, Count III does not contain sufficient factual matter to state a

  claim for civil theft that is plausible on its face. See Iqbal, 129 S.Ct. at 1949. Thus, Count III

  must be dismissed for failure to state a claim.

         2.      FELONIOUS INTENT & CONTRACTUAL RELATIONSHIP

         Importantly for purposes of Plaintiff’s civil theft claim, the allegations in the Complaint




                                                    22
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 23 of 26



  establish that the parties had a contractual relationship.     Based on the allegations in the

  Complaint, the parties made an oral agreement for the purchase and sale of Super Bowl tickets.

  Defendants orally promised to sell and deliver to Plaintiff, and Plaintiff orally agreed to buy, 40

  Super Bowl tickets located in the “stadium’s lower level endzone” for $4,500 per ticket. (Com. ¶

  10). Defendants also orally promised to procure and sell to Plaintiff additional Super Bowl

  tickets in the stadium’s “lower level” on the condition that Plaintiff perform its part of the

  agreement by buying the 40 Super Bowl tickets. (Id. ¶ 11, 21, 34, 39, 49-51). Plaintiff asserts

  that it performed its part of the agreement by paying Defendants $180,000 for the 40 Super Bowl

  tickets. (Id. ¶ 14-15). Plaintiff further claims that it then exercised its right to buy additional

  tickets by paying Defendants $66,500 for 10 additional Super Bowl tickets. (Id. ¶ 18).

         “[T]o establish a viable claim for civil theft where the parties have a contractual

  relationship, the theft must go beyond, and be independent from, a failure to comply with the

  terms of the contract.” Tulepan v. Roberts, 2015 WL 235441, at *10-11 (S.D. Fla. Jan. 16, 2015);

  see also 1021018 Alberta Ltd. v. Netpaying, Inc., 2011 WL 1103635 *4 (M.D. Fla. Mar. 24,

  2011) (“[A] claim for conversion may lie even where a contractual relationship exists between

  the parties if the alleged conversion exists independently of an alleged failure to perform

  contractual duties.”).

         Plaintiff’s allegations establish that Defendants’ alleged theft does not go beyond, and is

  not independent from, Defendants’ failure to perform their contractual obligations. Plaintiff

  claims that it paid Defendants for 50 Super Bowl tickets. Plaintiff also claims that Defendants

  only delivered 38 out of the 40 tickets as promised, and only 26 of the tickets delivered were for

  seats in the location promised by Defendants.        Plaintiff also claims that Defendants only

  delivered 6 out of the 10 additional tickets as promised and that none of the tickets delivered

  were for seats in the location promised by Defendants. Plaintiff further claims that Defendant’s




                                                  23
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 24 of 26



  failure to deliver 22 tickets for seats in the location promised by Defendants constitutes a failure

  to deliver the 22 tickets. So, for the purposes of “damages,” Plaintiff contends that Defendants

  only delivered 26 of the promised 50 tickets.        Thus, Plaintiff claims “damages” based on

  Defendants’ failure to deliver 2 tickets as promised and Defendants’ failure to deliver 22 tickets

  for seats in the location promised by Defendants.

         In claiming $129,500 in “damages,” (Com. ¶ 51), Plaintiff maintains that it is entitled to

  damages based on Defendants’ failure to deliver 2 out of the 40 Super Bowl tickets promised by

  Defendants ($9,000), Defendant’s failure to deliver 12 out of the 40 Super Bowl tickets for seats

  in the location promised by Defendants ($54,000), and Defendants’ failure to deliver the 10

  additional Super Bowl tickets for seats in the location promised by Defendants, even though

  Defendants delivered 6 of those 10 additional tickets ($66,500).

         Based on the allegations in the Complaint, Plaintiff is claiming that the money

  ($129,500) Defendants stole from Plaintiff is money Plaintiff paid to Defendants for the Super

  Bowl tickets.    Based on the allegations in the Complaint, Plaintiff is also claiming that

  Defendants stole the money ($129,500) because they failed to deliver 2 tickets as promised by

  Defendant and failed to deliver 22 tickets for seats in the location promised by Defendants.

  Thus, Plaintiff’s allegations establish that the $129,500 in “damages” that Plaintiff suffered

  because of Defendants’ theft is exactly coextensive with the $129,500 in “damages” Plaintiff that

  suffered because of Defendants’ failure to perform their contractual obligations. In other words,

  the alleged theft is exactly coextensive with the alleged nonperformance of the oral contract.

         As the allegations in the Complaint establish, Defendants’ alleged theft of Plaintiff’s

  $129,500 is entirely premised on Defendants’ failure to perform their contractual obligations.

  Indeed, Plaintiff’s assertion that Defendants sole Plaintiff’s $129,500 is entirely predicated on

  Defendants’ alleged failure to deliver 2 tickets as promised by Defendant and alleged failure to




                                                  24
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 25 of 26



  deliver 22 tickets for seats in the location promised by Defendants. By failing to perform those

  contractual obligations, according to Plaintiff, Defendants’ stole the money ($129,500) Plaintiff

  paid for the tickets. Thus, Defendants’ alleged theft does not go beyond, and is not independent

  from, a failure to perform their contractual obligations.

         Because Plaintiff’s allegations establish there was a contractual relationship between the

  parties, and because that relationship plainly encompasses the alleged theft since the theft of

  Plaintiff’s $129,500 is entirely based on Defendants’ failure to perform their contractual

  obligations, the alleged theft does not go beyond, and is not independent from, Defendants’

  failure to honor their contractual obligations.       See Tulepan, 2015 WL 235441, at *10-11

  (dismissing civil theft claim “because there is a contractual relationship between the parties” and

  that “relationship plainly encompasses the alleged theft of plaintiff’s [money]”); Leisure

  Founders, Inc. v. CUC Int’l, Inc., 833 F.Supp. 1562, 1573-74 (S.D. Fla. 1993) (dismissing civil

  theft claim because plaintiffs “alleged the conversion of funds to be exactly coextensive with the

  nonperformance of an agreement between the parties”).

         For these reasons, Count III must be dismissed for failure to state a claim.

         D.      THE COMPLAINT FAILS TO STATE A CLAIM FOR UNJUST ENRICHMENT

         An unjust enrichment claim requires proof of “(1) a benefit conferred upon a defendant

  by the plaintiff, (2) the defendant’s appreciation of the benefit, and (3) the defendant’s

  acceptance and retention of the benefit under circumstances that would make it inequitable for

  him to retain it without paying the value[.]” Rollins, Inc. v. Butland, 951 So.2d 860, 876 (Fla. 2d

  DCA 2006). An unjust enrichment claim is “equitable in nature, and therefore, is not available

  when there is an adequate legal remedy.” Bowleg v. Bowe, 502 So.2d 71, 72 (Fla. 3d DCA 1987).

         In asserting claims for fraud and civil theft, Plaintiff claims that it has an adequate legal

  remedy for Defendants’ alleged “unlawful actions.” (Com. ¶ 51). Although Rule 8 does permit




                                                   25
Case 1:22-cv-21780-JLK Document 7 Entered on FLSD Docket 06/16/2022 Page 26 of 26



  alternative pleading, see FED. R. CIV. P. 8(d)(2), Plaintiff does not plead its unjust enrichment

  claim in the alternative. See Sun Life Assurance Co. of Can. v. Imperial Prem. Fin., LLC, 904

  F.3d 1197, 1213 n. 16 (11th Cir. 2018) (“Rule 8(d)(2) requires that alternative statements be set

  out in the pleading, a requirement that is generally me through either-or-propositions or if-then

  allegations.”). Because Plaintiff claims that it has an adequate legal remedy for Defendants’

  alleged “unlawful actions,” a claim for unjust enrichment is not available under the

  circumstances and Count II of must be dismissed.

  III.   CONCLUSION

         Counts I-III of the Complaint must be dismissed pursuant to Rule 12(b)(6) of the Federal

  Rules of Civil Procedure for failure to state a claim upon which relief can be granted.

  Dated: June 16, 2022                                 Respectfully submitted,



                                                       / s / James Tarquin
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 16, 2022, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

  Rafael Recalde, Recalde Law Firm, P.A., 1815 Purdy Avenue, Miami Beach, Florida 33139.



                                                       / s / James Tarquin
                                                       James Tarquin




                                                  26
